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 1   MARK ALBERT RIGAU (CA Bar No. 223610)
 2   Senior Trial Counsel
     United States Department of Justice
 3   Environment and Natural Resources Division
     Environmental Defense Section
 4   450 Golden Gate Avenue, Suite 07-6714
 5   San Francisco, CA 94102
     Phone: (415) 744-6487
 6   Email: mark.rigau@usdoj.gov
 7   Attorneys for Defendants
 8
     [additional counsel listed in signature block]
 9
                           IN THE UNITED STATES DISTRICT COURT
10
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
11
                                          OAKLAND DIVISION
12
13    CENTER FOR COMMUNITY ACTION                     Case No. 4:23-cv-03571-YGR
14    AND ENVIRONMENTAL JUSTICE,                      (Lead case)

15                           Plaintiff,
                      v.
16
17    UNITED STATES ENVIRONMENTAL
      PROTECTION AGENCY, et al.,
18
                             Defendants.
19
      EAST YARD COMMUNITIES FOR                       Case No. 4:23-cv-04448-YGR
20    ENVIRONMENTAL JUSTICE, PEOPLE’S                 (Consolidated case)
      COLLECTIVE FOR ENVIRONMENTAL
21    JUSTICE, SIERRA CLUB, and
22    COMMUNITIES FOR A BETTER                        FIRST STIPULATION TO MODIFY
      ENVIRONMENT,                                    THE CONSENT DECREE DEADLINE
23                     Plaintiffs,                    AND PROPOSED ORDER
                   v.
24
25    UNITED STATES ENVIRONMENTAL
      PROTECTION AGENCY, et al.,
26
                             Defendants.
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28
           Case 4:23-cv-03571-YGR Document 29 Filed 07/10/24 Page 2 of 5




 1          Pursuant to Civil L.R. 6-1(b), 6-2, 7-12, and paragraph 5 of the Consent Decree (Dkt.
 2   No. 26), Plaintiff Center for Community Action and Environmental Justice (Case No. 4:23-cv-
 3   03571-YGR), Plaintiffs East Yard Communities for Environmental Justice, People’s Collective
 4   for Environmental Justice, Sierra Club, and Communities for a Better Environment (Case No.
 5   3:23-cv-04448-YGR), (together the “Plaintiffs”) and Defendants United States Environmental
 6   Protection Agency, Michael Regan, Administrator of the United States Environmental
 7   Protection Agency, and Martha Guzman, Regional Administrator for Region 9 of the United
 8   States Environmental Protection Agency (“EPA”) (collectively, “the Parties”) stipulate to
 9   continue the deadline for the appropriate EPA official to sign a notice of final rulemaking to
10   approve, disapprove, conditionally approve, or approve in part and disapprove in part, the SIP
11   submittal from California entitled Rule 2305, Warehouse Indirect Source Rule, from no later
12   than July 17, 2024 to no later than September 10, 2024.
13          On March 26, 2024, the Court signed the Consent Decree resolving Plaintiffs’ claims
14   under 42 U.S.C. § 7604(a)(2) that EPA failed to perform a non-discretionary duty under the
15   Clean Air Act. (Dkt. No. 26). On March 26, 2024, the Court established June 28, 2024, as the
16   deadline for Plaintiffs to file bills of costs and attorneys’ fees. (Dkt. No. 26) (Order in ECF
17   Notice of Electronic Filing Docket Text notation). On June 21, 2024, the Parties filed a
18   stipulation to extend the deadline to file bills of cost and motions for attorney’s fees, which
19   was granted by the Court. (Dkt. No. 28). This First Stipulation to Modify the Consent Decree
20   Deadline is the first request to modify the deadline for EPA to sign a notice of final rulemaking
21   taking action on the submittal of Rule 2305.
22          Paragraph 5 of the Consent Decree provides that “[t]he deadline established by this
23   Consent Decree may be extended (a) by written stipulation of Plaintiffs and EPA with notice to
24   the Court, or (b) by the Court upon motion of any party for good cause shown pursuant to the
25   Federal Rules of Civil Procedure, and upon consideration of any response by a non-moving
26   party and any reply.” Consent Decree ¶ 5 (Dkt. No. 26).
27
28
     FIRST STIPULATION TO MODIFY THE CONSENT DECREE
     DEADLINE AND PROPOSED ORDER
     CASE NO. 4:23-CV-03571-YGR                   1
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 1          Paragraph 1 of the Consent Decree specifically establishes that “[t]he appropriate EPA
 2   official shall sign a notice of final rulemaking to approve, disapprove, conditionally approve,
 3   or approve in part and disapprove in part, the SIP submittal from California entitled Rule 2305,
 4   Warehouse Indirect Source Rule, no later than July 17, 2024.”
 5          EPA informed the Plaintiffs the reasons that it is seeking a modest extension of the
 6   deadline to take final action due to the number and complexity of the comments received
 7   during the Notice of Proposed Rulemaking; the need to coordinate certain EPA responses with
 8   the United States Department of Transportation concerning the Airline Deregulation Act and
 9   Federal Aviation Administration Authorization Act; and the required heightened coordination
10   between regional and headquarter offices of EPA where an action, such as this, may establish
11   precedence on future actions. EPA has agreed to file a status report by August 16, 2024.
12          THEREFORE, the Parties stipulate to and request that the Court enter an order
13   extending the deadline for EPA to take action under paragraph 1 of the Consent Decree from
14   July 17, 2024 to no later than September 10, 2024.
15          Respectfully submitted,
16          July 10, 2024                TODD KIM
                                         Assistant Attorney General
17                                       United States Department of Justice
18                                       Environment and Natural Resources Division

19                                       /s/ Mark A. Rigau
                                         MARK ALBERT RIGAU (CA Bar No. 223610)
20
                                         Senior Trial Counsel
21                                       Environmental Defense Section
                                         450 Golden Gate Avenue, Suite 07-6714
22                                       San Francisco, CA 94102
                                         Phone: (415) 744-6487
23
                                         Email: mark.rigau@usdoj.gov
24
                                         Attorneys for Defendants
25
26                                       /s/ Brent J. Newell
                                         BRENT J. NEWELL (Cal. Bar No. 210312)
27                                       Law Office of Brent J. Newell
                                         245 Kentucky Street, Suite A4
28
     FIRST STIPULATION TO MODIFY THE CONSENT DECREE
     DEADLINE AND PROPOSED ORDER
     CASE NO. 4:23-CV-03571-YGR                   2
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 1                                        Petaluma, CA 94952
                                          Tel. (661) 586-3724
 2                                        Email: brentjnewell@outlook.com (signature authorized
 3                                        by written consent)

 4                                        Attorney for Plaintiff Center for Community Action and
                                          Environmental Justice
 5
 6                                        /s/ Regina J. Hsu
                                          REGINA J. HSU (State Bar No. 318820)
 7                                        EARTHJUSTICE
 8                                        50 California St., Suite 500
                                          San Francisco, CA 94111
 9                                        rhsu@earthjustice.org
                                          Tel: (213) 766-1072
10                                        Fax: (415) 217-2040 (signature authorized by written
11                                        consent)

12                                        ADRIANO L. MARTINEZ (State Bar No. 237152)
                                          CANDICE L. YOUNGBLOOD (State Bar No. 328843)
13                                        EARTHJUSTICE
14                                        707 Wilshire Blvd., Suite 4300
                                          Los Angeles, CA 90017
15                                        amartinez@earthjustice.org
                                          cyoungblood@earthjustice.org
16                                        Tel: (415) 217-2000
17
                                          Attorneys for Plaintiffs East Yard Communities for
18                                        Environmental Justice, People’s Collective
                                          for Environmental Justice, and Sierra Club
19
20                                         /s/ Tyler Earl
                                          TYLER EARL (State Bar No. 320771)
21                                        COMMUNITIES FOR A BETTER ENVIRONMENT
22                                        6325 Pacific Blvd.
                                          Huntington Park, CA 90255
23                                        tyler@cbecal.org
                                           Tel: (510) 302-0430 ext. 116 (signature authorized by
24                                         written consent)
25
                                          Attorney for Communities for a Better Environment
26
     (Signed and filed on behalf of all Plaintiffs with written authorization).
27
28
     FIRST STIPULATION TO MODIFY THE CONSENT DECREE
     DEADLINE AND PROPOSED ORDER
     CASE NO. 4:23-CV-03571-YGR                   3
          Case 4:23-cv-03571-YGR Document 29 Filed 07/10/24 Page 5 of 5




 1   PURSUANT TO STIPULATON, IT IS SO ORDERED this ___ day of ___________, 2024.
 2
 3                                                    ____________________________________
                                                      Hon. Yvonne Gonzales Rogers
 4                                                    United States District Judge
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     FIRST STIPULATION TO MODIFY THE CONSENT DECREE
     DEADLINE AND PROPOSED ORDER
     CASE NO. 4:23-CV-03571-YGR                   4
